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JOHN E. MORAN (State Bar No. 94179)
SUSAN L. WILSON (State Bar No. 195022)

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Thousand Oaks, California 91360 =o
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Facsimile: (805) 778-0736 MAR 3 1 2004
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Aareeys fon iainnitt ASTERN DISTRICT OF CALIFORNIA

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MAR 3 0 2004 UNITED STATES DISTRICT COURT

DISTRICT CG
E K vs: OP OFS ArH EASTERN DISTRICT OF CALIFORNIA
= SACRAMENTO DIVISION
DIRECTV, INC., a California corporation, CASE NO.: CIV.S-02-2579 DFL PAN
Plaintiff, REQUEST FOR DISMISSAL OF
DEFENDANT CLINT ROUSH BY
Vv. PLAINTIFF AND ORDER THEREON
JOHN LAWRENCE; KELLY PAILLON; Assigned to Hon. David F. Levi
CLINT ROUSH; BOB WOODMAN; GEORGE
WORRALL,
Defendants.

Plaintiff hereby requests that Defendant CLINT ROUSH be dismissed pursuant to Rule 41 (a)
of the Federal Rules of Civil Procedure.

Dated: mar DY 2004 DANNER & MARTYN, LLP

By:

rmeys for Plaintiff, DIRECTV, INC.

ORDER

IT IS SO ORDERED. ch
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Dated: March 40 , 2004 { » dy. (sah

Honorable David F. Levi
United States District Court Judge

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7204 REQUEST FOR DISMTSSAT. OF DEFENDANT CLINT ROUSH ANN ORNER THEREON
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PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF VENTURA

I am employed by Danner & Martyn, LLP in the County of Ventura, State of California. I am over the
age of 18 and not a party to the within action; my business address is 100 E. Thousand Oaks Blvd.,
Suite 244, Thousand Oaks, California, 91360.

On March a , 2004, I served the foregoing document(s) described as REQUEST FOR
DISMISSAL OF DEFENDANT CLIENT ROUSH AND ORDER THEREON on the interested
parties in this action as stated on the attached service list as follows:

By placing true copies thereof enclosed in sealed envelope(s) addressed as stated on the
attached service list as follows:

O BY PERSONAL SERVICE (CCP §1011):
I delivered such envelope(s) by hand to the offices of the addressee(s).

BY MAIL (CCP §1013(a)& (b)):
I am “readily familiar” with the firm’s practice of collection and processing
correspondence for mailing. Under that practice such envelope(s) would be deposited
with the U.S. postal service on that same day with postage thereon fully prepaid at 100
E. Thousand Oaks Blvd., Suite 244, Thousand Oaks, California, in the ordinary course
of business. I am aware that on motion of the party served, service is presumed invalid
if postal cancellation date or postage meter date is more than one day after date of
deposit for mailing in affidavit.

O BY OVERNIGHT CARRIER (CCP §1013(c)&(d) ):
I am “readily familiar’ with the firm’s practice of collection and processing
correspondence for mailing via Overnight Carrier. Under that practice such
envelope(s) would be deposited at an authorized Overnight Carrier “drop off” box on
that same day with delivery fees fully provided for at 100 E. Thousand Oaks Blvd.,
Suite 244, Thousand Oaks, California, in the ordinary course of business.

BY FACSIMILE:
Pursuant to CCP §1013(e) and (f) and CRC Rule 2008, on , 2004, at
approximately (a.m.L//p.m.C), I served the above stated document by facsimile from

the facsimile machine of Danner & Martyn, LLP, whose phone number is (805) 778-0736, as
stated on the attached service list. The facsimile machine used complies with CRC Rule
2003(3). Pursuant to CRC Rule 2008(e) the transmission be facsimile was reported as
complete and without error.

Executed on March‘ vO , 2004, at Thousand Oaks, California

O

(STATE) I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

(FEDERAL) I declare that I am employed in the office of a member of the Bar of this Court
at whose direction the service was made. I declare under penalty of perjury under the laws of
the United States of America that the above is true and pee
. j } (.
ke Sul

Paula Maxwell

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Case 2:02-cv-02579-DFL-PAN

Mr. John Lawrence, Esq.
Attorney at Law

P.O. Box 912

122 Third Street

Yreka, CA 96097
Telephone: 916-842-6900

Mr. Clint Roush
4340 Winter Amber Court
Shasta Lake, CA 96019

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In Pro Se

In Pro Se

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United States District Court
for the
Eastern District of California
March 31, 2004

* * CERTIFICATE OF SERVICE * *
2:02-cv-02579

Directv Inc
Vv.

Lawrence

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on March 31, 2004, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

Diana Siobhan Ponce-Gomez HV/DFL
Danner and Martyn

100 East Thousand Oaks Boulevard TM/PAN
Suite 244

Thousand Oaks, CA 91360

John William Lawrence

John W Lawrence Attorney at Law
PO Box 912

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Yreka, CA 96097

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Jack L. Wagnen, Clerk

BY:

